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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Richard Drawdy,                                    :
                                                     Civil Action No.: 1:13-cv-10116
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
AscensionPoint Recovery Services, LLC; and         :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :



       For this Complaint, the Plaintiff, Richard Drawdy, by undersigned counsel, states as
follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Richard Drawdy (“Plaintiff”), is an adult individual residing in

Chelsea, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      The Defendant, AscensionPoint Recovery Services, LLC (“AscensionPoint”), is a

Minnesota business entity with an address of 200 Coon Rapids Boulevard, Suite 200, Coon
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Rapids, Minnesota 55433, operating as a collection agency, and is a “debt collector” as the term

is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by

AscensionPoint and whose identities are currently unknown to the Plaintiff. One or more of the

Collectors may be joined as parties once their identities are disclosed through discovery.

       7.      AscensionPoint at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      A person other than the Plaintiff incurred a financial obligation (the “Debt”) to an

original creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to AscensionPoint for collection,

or AscensionPoint was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. AscensionPoint Engages in Harassment and Abusive Tactics

       12.     In March 2012, Defendants began placing up to two calls a day to Plaintiff’s

landline, using an automated telephone dialer system with an artificial or prerecorded voice

(hereafter “Robocalls”), in an attempt to collect a debt incurred by a person other than the

Plaintiff and who does not reside at Plaintiff’s residence.




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       13.     On many occasions, Plaintiff returned Defendants’ calls and informed Defendants

that it had the wrong number and requested that Defendants cease calls.

       14.     Plaintiff never provided his residential phone number to Defendants.

       15.     Plaintiff never provided any express consent to Defendants to be called at his

residential phone line.

       16.     Despite the foregoing, Defendants continued to place Robocalls to Plaintiff in an

attempt to collect another person’s debt.


   C. Plaintiff Suffered Actual Damages

       17.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       18.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       20.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.



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       22.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair or unconscionable means to collect any debt.

       23.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       24.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                  COUNT II
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       25.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       26.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       27.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       28.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous calls.

       29.     The telephone calls made by Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       30.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.


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       31.    As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       32.    All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.

                                    PRAYER FOR RELIEF

              WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                  2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                      §1692k(a)(2)(A) against Defendants;

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                      1692k(a)(3) against Defendants;

                  4. Actual damages from Defendants for the all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or negligent

                      FDCPA violations and intentional, reckless, and/or negligent invasions of

                      privacy in an amount to be determined at trial for the Plaintiff;

                  5. Punitive damages; and

                  6. Such other and further relief as may be just and proper.


                        TRIAL BY JURY DEMANDED ON ALL COUNTS




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Dated: January 18, 2013

                                    Respectfully submitted,

                                    By _/s/ Sergei Lemberg ____________

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